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          5
          6      Attorney for Movant

          7                               UNITED STATES BANKRUPTCY COURT
          8
                              EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO DIVISION
          9
                 In re:                                           Bankruptcy Case No. 18-27848
         10
                 Brandon Michael Baxter,                          Docket Control No. CJO-1
         11
                                   Debtor.                        Chapter 7
         12
                 Specialized Loan Servicing LLC,
         13                                                       HEARING DATE:
                                       Movant,                    DATE: 04/17/2019
         14      vs.                                              TIME: 10:00 a.m.
                                                                  CTRM: 35
         15      Brandon Michael Baxter, Debtor, and
                 Nikki B. Farris, Trustee,
         16
                                       Respondents.
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                 SPECIALIZED LOAN SERVICING LLC’S MOTION FOR RELIEF FROM AUTOMATIC
         21
                       STAY ON REAL PROPERTY (3571 PARK DRIVE, COTTONWOOD, CA 96022)
         22
                 TO THE HONORABLE CHRISTOPHER M. KLEIN, UNITED STATES BANKRUPTCY
         23
                 COURT JUDGE, THE DEBTOR, THE DEBTOR'S COUNSEL, THE TRUSTEE AND
         24
                 OTHER INTERESTED PARTIES:
         25
                                Specialized Loan Servicing LLC (“SLS”), hereby moves this Court for an order
         26      terminating the automatic stay of 11 U.S.C. §362 as to Movant in the above-entitled and numbered
         27      case so that Movant may commence and continue acts necessary to enforce its security interest in
         28      real property commonly known as 3571 Park Drive, Cottonwood, CA 96022.


                 MOTION FOR RELIEF                            1
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          1                     Movant requests relief from stay pursuant to §362(d)(1) for cause as the Property is
          2      being surrendered. The Property is being surrendered as stated in the Debtor’s Statement of
          3      Intentions. Based on the foregoing, SLS requests relief from the automatic stay pursuant to
          4      §362(d)(1).
          5                     This Motion is based upon the attached Declaration and the Memorandum of Points
          6      and Authorities attached hereto, as well as upon the documents filed in support of the Motion.
          7
                 Dated: March 29, 2019                      Respectfully Submitted,
          8                                                 MALCOLM ♦ CISNEROS, A Law Corporation
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         10                                                 By: /s/ Christina J. O
                                                            Christina J. O
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                                                            Attorney for Movant
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                 MOTION FOR RELIEF                               2
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